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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

BRUCE MEYERS; KALLIE
ROESNER-MEYERS and                                      Case No. 17-cv-10623
EUGENIA CALOCASSIDES,                                   Hon. Denise Page Hood

      Plaintiffs,

v.

VILLAGE OF OXFORD, a Michigan home-rule
village, JOE YOUNG, in his personal and official
capacity as Village Manager of the Village of
Oxford; SUE BOSSARDET, in her personal and
official capacity as President of the Village of Oxford;
and MICHAEL SOLWOLD, in his official capacity
only as the Acting Police Chief of the Village of Oxford;
ROBERT CHARLES DAVIS, in his personal and official
capacity as an administrative officer (Village Attorney)
of the Village of Oxford,

       Defendants.
__________________________________________________________________
OUTSIDE LEGAL COUNSEL PLC
PHILIP L. ELLISON (P74117)             JOPPICH, P.C.
Attorney for Plaintiffs             CARLITO H. YOUNG (P61863)
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_________________________________________________________________

             STIPULATED ORDER WITHDRAWING COUNSEL,
           WITHDRAWING MOTION TO DISQUALIFY [Dkt. No. 10],
                AND EXTENDING TIME FOR DEFENDANTS
                   TO FILE RESPONSIVE PLEADING

      Plaintiffs Bruce Meyers, Kallie Roesner-Meyers, and Eugenia Calocassides,

along with Defendants Village of Oxford, Joe Young, Sue Bossardet, Michael

Solwold, and Robert Charles Davis (collectively, the “Parties”), by their respective

counsel, hereby state as follows:

      1.      Plaintiffs filed this action on February 27, 2017 [Doc. No. 1].

      2.      Prior to service of the Complaint, Plaintiffs submitted a First

Amended Complaint on March 8, 2017 [Doc. No. 7].

      3.      Defendant Robert Charles Davis, named in both his personal capacity

and his official capacity as Village Attorney for the Village of Oxford, entered his

appearance on behalf of all named Defendants on March 15, 2017 [Doc. No. 9].

      4.      On March 19, 2017, Plaintiffs submitted a Motion to Disqualify

Attorney Davis as counsel [Doc. No. 10], and Defendants subsequently submitted a

Response in Opposition to the Motion to Disqualify [Doc. No. 14].
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        5.    A hearing on Plaintiffs’ Motion to Disqualify has been scheduled

before this Court on May 11 at 11:30 am [Doc. No. 15].

        6.       On March 30, 2017, Attorneys Carlito Young and Laura Bailey

Brown with the law firm of Johnson, Rosati, Schultz, and Joppich, P.C., entered

their appearance on behalf of all named Defendants [Doc. Nos. 12 and 13].

        7.    The Parties now agree that Attorney Davis, because there is now

appointed legal counsel for Defendants herein, will voluntarily withdraw as

counsel for Defendants, with Attorneys Young and Brown continuing to represent

all named Defendants in this action in all capacities pled.

        8.    The responsive pleadings in this matter are currently due on or before

April 4, 2017.

        NOW, THEREFORE, the Parties agree and stipulate as follows:

        9.    Attorney Davis voluntarily withdraws as counsel for Defendants.

        10.   Plaintiffs withdraw their Motion to Disqualify [Doc. No. 10],

rendering the hearing on the motion set for May 11 at 11:30 am [Doc. No. 15]

moot.

        11.   The Parties agree to an extension of time of 30 days for all Defendants

to submit responsive pleadings to Plaintiffs’ First Amended Complaint.

Accordingly, Defendants will file their responsive pleadings on or before May 4,

2017.


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      Accordingly,

      IT IS ORDERED that, as Plaintiff’s Motion to Disqualify [Dkt. No. 10] has

been withdrawn, the hearing on the Motion to Disqualify scheduled for May 11,

2017 is cancelled;

      IT IS FURTHER ORDERED that all Defendants shall submit responsive

pleadings to Plaintiffs’ First Amended Complaint on or before May 4, 2017.

      IT IS ORDERED.


Dated: April 14, 2017                       s/Denise Page Hood
                                            Chief Judge, U.S. District Court



Stipulated and Agreed to by:

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